           Case
            Case2:12-cr-00452-JAD-MDC
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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                         )
                                                     )
 9                         Plaintiff,                )
                                                     )
10           v.                                      ) 2:12-CR-452-JAD-(VCF)
                                                     )
11 SOLOMON ZEMEDHUN,                                 )
                                                     )
12                         Defendant.                )
13                                      ORDER OF FORFEITURE

14            This Court finds that on July 23, 2014, defendant SOLOMON ZEMEDHUN pled guilty to

15 Count One of a Five-Count Criminal Indictment charging him with Conspiracy to Possess and

16 Distribute Cocaine in violation of Title 21, United States Code, Section 846. Criminal Indictment,

17 ECF No. 1; Change of Plea Minutes, ECF No. 118; Plea Agreement, ECF No. 120.

18            This Court finds defendant SOLOMON ZEMEDHUN agreed to the forfeiture of the in

19 personam criminal forfeiture money judgment of $20,000 set forth in the Plea Agreement and the

20 Forfeiture Allegations in the Criminal Indictment. Criminal Indictment, ECF No. 1; Change of Plea

21 Minutes, ECF No. 118; Plea Agreement, ECF No. 120.

22           This Court finds that SOLOMON ZEMEDHUN shall pay a criminal forfeiture money

23 judgment of $20,000 in United States Currency to the United States of America, pursuant to Fed. R.

24 Crim. P. 32.2(b)(1) and (2) and Title 21, United States Code, Section 853(a)(1), 853(a)(2), and 853(p).

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        Case
         Case2:12-cr-00452-JAD-MDC
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 1         THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

 2 States recover from SOLOMON ZEMEDHUN a criminal forfeiture money judgment in the amount of

 3 $20,000 in United States Currency.

 4         DATED this ___
                       26thday of of
                             day  July, 2014. 2014.
                                     August,

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                                              UNITED STATES DISTRICT JUDGE
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                                                                    Page 3 of
                                                                       3 of 3 3




                                           PROOF OF SERVICE
 1

 2         I, Mary Stolz, Forfeiture Support Associates Paralegal, certify that the following individuals

 3 were served with copies of the Order of Forfeiture on July 25, 2014, by the below identified method of

 4 service:

 5         Electronic Filing
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17                                               /s/ Mary Stolz
                                                 Mary Stolz
18                                               Forfeiture Support Associates Paralegal
19

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